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                                                                               ?naeffiffiuer,
                         IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF NEW MEXICO
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 LINITED STATES OF AMERICA,

                Plaintiff,                             CRIMINAL NO. 2O.CR-639 JB
                                                  )
        vs.                                       )    Counts 1: 18 U.S.C. $ 92a(c)(lXAXii):
                                                  )    Using, Carrying, and Brandishing a
 JOHNNY BLACK                                     )    Firearm During and in Relation to a Crime
                                                  )    of Violence, and Possessing and
                Defendant.                        )    Brandishing a Firearm in Furtherance of
                                                  )    Such Crime;
                                                  )
                                                  )    Count 2: 18 U.S.C. $ 3, Accessory After
                                                  )    the Fact.

                                      INFORM ATION
The United States Attorney charges:

                                             Count I

       On or about June 25, 2018, in Santa Fe County, in the District of New Mexico, the

defendant, JOHNNY BLACK, knowingly used, carried, and brandished a firearm, during and in

relation to a crime of violence for which the defendant may be prosecuted in a court of the

United States, specifically, assault upon a federal officer involving a deadly and dangerous

weapon, and in furtherance of such crime, possessed and brandished said firearm.

       In violation of l8 U.S.C. g 92a(cXlXAXii).

                                             Count 2

       On or between January 15,2018, continuing to on or about July 1 1,2018, in Santa Fe

County, in the District of New Mexico, the defendant, JOHNNY BLACK, knowing that a

felony offense had been committed, to wit, Kidnapping Resulting in Death, did receive, relieve,
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comfort, and assist the offender(s), in order to hinder and prevent the apprehension, trial, and

punishment of the offender(s).

       In violation of l8 U.S.C. g 3.

                                 FORFEITURE ALLEGATIONS

       Upon conviction of the offense alleged in this Information, the defendant, JOHNNY

BLACK, shall forfeit to the United States, pursuant to 18 U.S.C. $ 924(d) and28 U.S.C. $

2461(c), any interest he may have in a Taurus 9 mm handgun and any ammunition collected by

law enforcement on July 11, 2018.


                                                     JOHN C. ANDERSON
                                                     United States



                                                     NICHO
                                                     Assistant         States Attorney

                                                     Albuquerque, New Mexico 87102
                                                     (s}s) 346-7274
